Case 2:24-bk-53688       Doc 36    Filed 02/27/25 Entered 02/27/25 12:06:27            Desc Main
                                  Document      Page 1 of 14



                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

       In re:                                               Case No. 24-53688

                Ryan Firestone                              Chapter 13
                Sara Firestone,
                Debtors.                                    Judge John E. Hoffman, Jr.

                           APPLICATION FOR COMPENSATION

       Laura M. Nesbitt, counsel for Debtors, hereby applies to this Court for an allowance of
attorney’s fees in her capacity as attorney for the above referenced Debtors. This request for fees
is made pursuant to LBR 2016-1(b) and is for services provided in a dismissed case prior to
confirmation. The proposed percentage payment to unsecured creditors was 80% and the
proposed plan length was 60 months.
       Despite attorney’s efforts to present this case for confirmation, Debtors were unable to
make timely plan payments and their case was dismissed. The court’s order of dismissal was
entered on February 14, 2025 (Doc. 34). This application is made within 14 days of said
dismissal.
       Attorney spent approximately 10 hours, 24 minutes on the above referenced matters
resulting in $4,420.00 legal fees for services performed, Attorney’s staff spent approximately 5
hours, 54 minutes, on the above referenced matter resulting in $688.50 of legal fees for services
performed. Further, Attorney incurred out of pocket expenses in relation to the work performed
in the amount of $94.06. Therefore, Attorney requests she be allowed a total compensation for
legal fees and expenses in the amount of $5,202.56. Attorney will credit the invoice for $915.00
dollars, reducing the invoice owed to $4,290.56.
       WHEREFORE, Attorney requests she be allowed a total compensation for legal fees and
expenses in the amount of $5,202.56 and that the balance owed of $4,290.56 to be paid to
attorney out of the balance on hand with the Chapter 13 trustee, or in any lesser available amount
on hand with the trustee, with the balance to be payable directly from Debtors.
Case 2:24-bk-53688      Doc 36    Filed 02/27/25 Entered 02/27/25 12:06:27           Desc Main
                                 Document      Page 2 of 14



                                                    Respectfully submitted,

                                                    /s/ Laura M. Nesbitt          _____
                                                    Laura M. Nesbitt (0082629)
                                                    Counsel for Debtor
                                                    Tax Workout Group, PA
                                                    175 South 3rd Street, Suite 200
                                                    Columbus, OH 43215
                                                    (614) 800-0262 – phone
                                                    (614) 808-1627– fax
                                                    bk@taxworkoutgroup.com

                                           NOTICE

       Attorney Laura M. Nesbitt has filed papers with the court for approval of an application
for compensation.

Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you do not want the court to grant the request sought in the application, then on or before
twenty-one (21) days from the date set forth in the certificate of service for the application,
you just file with the court a response explaining your position by mailing your response by
regular U.S. Mail to Clerk of Courts, US Bankruptcy Court Southern District of Ohio, 170 North
High Street, Columbus, Ohio 43215 OR your attorney must file a response using the court’s ECF
System.

The court must receive your response on or before the above date.

You must also send a copy of your response either by 1) the courts ECF System or by 2) regular
U.S. Mail to Laura M. Nesbitt, 175 South 3rd Street, Suite 200, Columbus, OH 43215, and to all
other parties listed on the Certificate of Service included with this motion.

If you or your attorney do not take these steps, the court may decide that you do not oppose the
request sought in the application and may enter an order granting that request without further
hearing or notice.



                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Application for Compensation was served (i)
electronically on the date of filing through the court’s ECF System on all ECF participants
registered in this case at the email address registered with the court and (ii) by ordinary U.S.
Mail on February 27, 2025 addressed to:
Case 2:24-bk-53688   Doc 36    Filed 02/27/25 Entered 02/27/25 12:06:27     Desc Main
                              Document      Page 3 of 14




See attached list.
                                             Respectfully submitted,
                                             /s/ Laura M. Nesbitt________
                                              Laura M. Nesbitt (0082629)
               Case 2:24-bk-53688    Doc 36   Filed 02/27/25            Entered 02/27/25 12:06:27      Desc Main
Label Matrix for local noticing          AllyDocument
                                              Bank              Page 4 of 14             Ally Bank co AIS Portfolio Services LLC
0648-2                                   AIS Portfolio Services, LLC                     4515 N Santa Fe Ave Dept APS
Case 2:24-bk-53688                       4515 N Santa Fe Ave. Dept. APS                  Oklahoma City OK 73118-7901
Southern District of Ohio                Oklahoma City, OK 73118-7901
Columbus
Thu Feb 27 12:01:55 EST 2025
Ally Financial                           Aqua Finance                                    Asst US Trustee (Col)
PO Box 380901                            One Corporate Dr. Suite 300                     Office of the US Trustee
Minneapolis, MN 55438-0901               Wausau, WI 54401-1724                           170 North High Street
                                                                                         Suite 200
                                                                                         Columbus, OH 43215-2417

Brandon S. Lefkowitz                     CSC                                             Capital One
29777 Telegraph Road, Suite 2440         801 Adlai Stevenson Dr.                         PO Box 30285
Southfield, MI 48034-7667                Springfield, IL 62703-4261                      Salt Lake City, UT 84130-0285



Comenity Bank/Ann Taylor                 Credit One Bank                                 FB&T/Mercury
3095 Loyalty Circle Blvd. A              PO Box 98872                                    PO Box 84064
Columbus, OH 43219                       Las Vegas, NV 89193-8872                        Columbus, GA 31908-4064



FinWise Bank                             Finwise/Opploans                                First Electronic Bank
c/o Opportunity Financial, LLC           130 E. Randolph St. Suite 3400                  c/o Opportunity Financial, LLC
130 E. Randolph Street, Suite 3300       Chicago, IL 60601-6379                          130 E. Randolph Street, Suite 3300
Chicago, IL 60601-6313                                                                   Chicago, IL 60601-6313


Instacash/MoneyLion                      Internal Revenue Service                        (p)JAVITCH BLOCK
ML Plus, LLC PO Box 1547                 PO Box 7346                                     1100 SUPERIOR AVENUE
Sandy, UT 84091-1547                     Philadelphia, PA 19101-7346                     19TH FLOOR
                                                                                         CLEVELAND OH 44114-2521


(p)JEFFERSON CAPITAL SYSTEMS LLC         Kohl’s                                          LVNV Funding, LLC
PO BOX 7999                              PO Box 3115                                     Resurgent Capital Services
SAINT CLOUD MN 56302-7999                Milwaukee, WI 53201-3115                        PO Box 10587
                                                                                         Greenville, SC 29603-0587


Lending Club                             MERRICK BANK                                    (p)MANLEY DEAS KOCHALSKI LLC
c/o Jefferson Capital Systems            Resurgent Capital Services                      ATTN BANKRUPTCY DEPT
200 14th Ave. East                       PO Box 10368                                    1555 LAKE SHORE DRIVE
Sartell, MN 56377-4500                   Greenville, SC 29603-0368                       COLUMBUS OH 43204-3825


Merrick Bank                             MidFirst Bank                                   Midland Credit Management, Inc.
PO Box 9201                              999 NW Grand Blvd. Suite 100                    PO Box 2037
Old Bethpage, NY 11804-9001              Oklahoma City, OK 73118-6051                    Warren, MI 48090-2037



NetCredit                                Ohio Department of Taxation                     Ohio Gastroenterology Group
175 W. Jackson Blvd. Suite 1000          Attn: Bankruptcy Division                       c/o I.C. Collection PO Box 64378
Chicago, IL 60604-2863                   PO Box 530                                      Saint Paul, MN 55164-0378
                                         Columbus, OH 43216-0530
               Case 2:24-bk-53688               Doc 36    Filed 02/27/25           Entered 02/27/25 12:06:27            Desc Main
(p)POSSIBLE FINANCIAL INC                            Quantum3 Group LLC as agent
                                                         Document           Page for5 of 14               Quantum3 Group LLC as agent for
PO BOX 98686                                         AXIOM ACQUISITION VENTURES LLC                       Aqua Finance Inc
LAS VEGAS NV 89193-8686                              PO Box 788                                           PO Box 788
                                                     Kirkland, WA 98083-0788                              Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for                      Quantum3 Group LLC as agent for                      Quantum3 Group LLC as agent for
Comenity Bank                                        Crown Asset Management LLC                           Mercury Financial/First Bank & Trust
PO Box 788                                           PO Box 788                                           PO Box 788
Kirkland, WA 98083-0788                              Kirkland, WA 98083-0788                              Kirkland, WA 98083-0788


Resurgent Receivables, LLC                           SYNCB/JCrew                                          SYNCB/PPC
Resurgent Capital Services                           PO Box 71727                                         PO Box 965005
PO Box 10587                                         Philadelphia, PA 19176-1727                          Orlando, FL 32896-5005
Greenville, SC 29603-0587


(p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP        Secretary of Housing & Urban Development             Synchrony Networks
477 MICHIGAN AVE #1600                               c/o US Attorney                                      PO Box 965036
DETROT MI 48226-2564                                 303 Marconi Blvd. Suite 200                          Orlando, FL 32896-5036
                                                     Columbus, OH 43215-2840


(p)TD BANK USA N A                                   TD Bank/Target                                       Toyota Lease Trust
ATTN C/O WEINSTEIN & RILEY P S                       PO Box 1470                                          c/o Toyota Motor Credit Corporation
1415 WESTERN AVE                                     Minneapolis, MN 55440-1470                           PO Box 9013
SUITE #700                                                                                                Addison, Texas 75001-9013
SEATTLE WA 98101-2051

Toyota Motor Credit                                  Toyota Motor Credit Corporation                      US Attorney General
PO Box 661009                                        PO Box 9014                                          US Department of Justice
Dallas, TX 75266-1009                                Addison, TX 75001-9014                               950 Pennsylvania Avenue, NW
                                                                                                          Washington, DC 20530-0009


Verizon                                              (p)VON MAUR INC                                      Wells Fargo Bank
by American InfoSource as agent                      6565 BRADY STREET                                    PO Box 393
4515 N Santa Fe Ave                                  DAVENPORT IA 52806-2054                              Minneapolis, MN 55480-0393
Oklahoma City OK 73118-7901


Wells Fargo Bank, N.A.                               Wells Fargo Card Services                            Faye D. English
PO Box 10438, MAC F8235-02F                          PO Box 14517                                         Chapter 13 Trustee
Des Moines, IA 50306-0438                            Des Moines, IA 50306-3517                            10 West Broad Street
                                                                                                          Suite 1600
                                                                                                          Columbus, OH 43215-3416

Laura M. Nesbitt                                     Ryan Firestone                                       Sara Firestone
Tax Workout Group                                    10003 Viburnum Dr.                                   10003 Viburnum Dr.
175 South 3rd Street                                 Plain City, OH 43064-7550                            Plain City, OH 43064-7550
Suite 200
Columbus, OH 43215-5194



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
               Case 2:24-bk-53688               Doc 36      Filed 02/27/25         Entered 02/27/25 12:06:27              Desc Main
Javitch Block, LLC                                     Jefferson Capital Systems
                                                           Document              LLC 6 of 14
                                                                              Page                          Manley Deas Kochalski
1100 Superior Ave. 19th Fl.                            Po Box 7999                                          Attn: Kimberly Fulkerson
Cleveland, OH 44114                                    Saint Cloud MN 56302-9617                            PO Box 165028
                                                                                                            Columbus, OH 43216


Possible Financial                                     Secretary of Housing & Urban Development             TD Bank USA, N.A.
2231 First Ave. Suite B                                Attn: Single Family Notes Branch                     C/O Weinstein & Riley, P.S.
Seattle, WA 98121                                      451 Seventh St. SW                                   1415 WESTERN AVE, SUITE 700
                                                       Washington, DC 20410                                 SEATTLE, WA 98101


(d)U.S. Department of Housing and Urban Devel          Von Maur
77 West Jackson Boulevard                              6565 N Brady St.
Chicago, IL 60604                                      Davenport, IA 52806




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)MidFirst Bank                                       (u)Ohio Department of Taxation                       (u)The Woodbine Homeowners Association, Inc.




(d)MidFirst Bank                                       End of Label Matrix
999 NW Grand Boulevard                                 Mailable recipients    56
Suite 100                                              Bypassed recipients     4
Oklahoma City, OK 73118-6051                           Total                  60
Case 2:24-bk-53688         Doc 36         Filed 02/27/25 Entered 02/27/25 12:06:27     Desc Main
                                         Document      Page 7 of 14




150 East Palmetto Park Road, Suite 800
Boca Raton, Florida 33432
Phone: (561) 571-2004
Fax: (866) 511-2384
www.TaxWorkoutGroup.com




Invoice To:                     Payable To:
Ryan D. Firestone               150 East Palmetto Park Road, Suite 800
10003 Viburnum Drive            Boca Raton, Florida 33432
Plain City, Ohio 43064          Phone: (561) 571-2004
                                Fax: (866) 511-2384
                                www.TaxWorkoutGroup.com




INVOICE
Invoice # 3207
Date: 02/24/2025
Due Upon Receipt

 Invoice Number                                                                             Total

 3207                                                                                   $5,202.56

                                                                            Subtotal    $5,202.56

                                                                                Tax        $0.00

                                                                         Amount Due     $4,243.56




                                                 Page 1 of 8
Case 2:24-bk-53688           Doc 36       Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                         Document      Page 8 of 14       Invoice # 3207 - 02/24/2025




                                                                                                INVOICE
                                                                                                   Invoice # 3207
                                                                                                 Date: 02/24/2025
150 East Palmetto Park Road, Suite 800
                                                                                                Due Upon Receipt
Boca Raton, Florida 33432
Phone: (561) 571-2004
Fax: (866) 511-2384
www.TaxWorkoutGroup.com


Ryan D. Firestone
10003 Viburnum Drive
Plain City, Ohio 43064

00487-Firestone

Ch 13

 Services

  Type        Date                     Description                   Professional   Hours    Rate       Total

 Service   09/05/2024    Bankruptcy: Office conference with          LN               1.00   $425.00    $425.00
                         clients to re-sign ch 13

 Service   09/12/2024    Bankruptcy: Pre-file review; Update         LN               1.00   $425.00    $425.00
                         file, notes to file, email to paralegal

 Service   09/23/2024    Bankruptcy: Prepare, redact, submit         ED               0.30   $165.00     $49.50
                         documents to ch 13 trustee

 Service   09/27/2024    Bankruptcy: Draft ch 13 plan for client     LN               0.50   $425.00    $212.50
                         approval

 Service   10/04/2024    Bankruptcy: Receive tax return from         ED               0.20   $165.00     $33.00
                         clients; redact; submit to trustee per
                         request

 Service   10/15/2024    Bankruptcy: Review case status for          LN               0.20   $425.00     $85.00
                         Telephone Conference

 Service   10/15/2024    Bankruptcy: Telephone Conference            LN               0.50   $425.00    $212.50
                         with client - Ryan Firestone, discuss
                         plan payment, income, expense

 Service   10/17/2024    Bankruptcy: Message from client with        ED               0.20   $165.00     $33.00
                         updated pay stubs and questions on
                         income, organize and save
                         documents; email to LN

 Service   10/22/2024    Bankruptcy: Review case prior to 341;       LN               0.60   $425.00    $255.00
                         review pre-rec issues and notes on
                         income discussion; update income for




                                                       Page 2 of 8
Case 2:24-bk-53688          Doc 36       Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                        Document      Page 9 of 14       Invoice # 3207 - 02/24/2025




                        client review

 Service   10/23/2024   Bankruptcy: Attend 341 Meeting of         LN      0.60   $425.00    $255.00
                        Creditors - Zoom

 Service   10/24/2024   Bankruptcy: Review Ally/Capital One       ED      0.10   $165.00     $16.50
                        claim; email to LN

 Service   10/24/2024   Bankruptcy: Review and update I/J         LN      0.30   $425.00    $127.50
                        per clients; send portal message to
                        request review and consent to amend

 Service   10/25/2024   Bankruptcy: Draft amended ch 13           LN      1.30   $425.00    $552.50
                        plan; Revise payment per DI
                        approved by client, revised
                        schedules. Review all claims and
                        correct updates to claim amendments
                        to calculate plan correctly.

 Service   10/25/2024   Bankruptcy: Case Filing Task 7 -          LN      0.10   $425.00     $42.50
                        Review Toyota creditor claim, LN
                        assessment is that objection to claim
                        is not advisable, close task

 Service   10/25/2024   Bankruptcy: Contact client re: court      ED      0.10   $165.00     $16.50
                        filing fee for amendment

 Service   10/28/2024   Bankruptcy: Review client                 ED      0.10   $165.00     $16.50
                        correspondence re: amendment to be
                        filed

 Service   10/28/2024   Bankruptcy: Prepare amended B, DF         ED      0.60   $165.00     $99.00
                        and amended plan for attorney
                        review; email to Trustee with proof of
                        wife's 1099 income

 Service   10/28/2024   Bankruptcy: Final preparation for         ED      0.30   $165.00     $49.50
                        amendments for filing per LN.

 Service   10/28/2024   Bankruptcy: Submit additional             ED      0.10   $165.00     $16.50
                        documents to trustee per request

 Service   10/31/2024   Bankruptcy: Review trustee objection      ED      0.10   $165.00     $16.50
                        to confirmation; email to LN

 Service   11/12/2024   Bankruptcy: Review all issues             ED      0.20   $145.00     $29.00
                        affecting confirmation; email to LN

 Service   11/20/2024   Bankruptcy: Review IRS proof of           ED      0.30   $165.00     $49.50
                        claim; send tax return signature
                        pages to client to sign and return to
                        provide to claim filer for amendment

 Service   12/04/2024   Bankruptcy: Send follow up email to       ED      0.20   $165.00     $33.00
                        client regarding request for signatures
                        for tax returns for IRS and issues
                        affecting confirmation




                                                    Page 3 of 8
Case 2:24-bk-53688          Doc 36      Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                       Document     Page 10 of 14       Invoice # 3207 - 02/24/2025




 Service   12/05/2024   Bankruptcy: Receive signature pages       ED     0.20    $165.00    $33.00
                        from client; updated case tasks and
                        email IRS claim filer Tiffany Dizard.

 Service   12/10/2024   Bankruptcy: Review amended IRS            ED     0.20    $165.00    $33.00
                        claim; email to POC filer with request
                        for information or additional
                        corrections per return submitted

 Service   12/12/2024   Bankruptcy: Email to client: Reminder     ED     0.10    $165.00    $16.50
                        to complete financial management
                        course

 Service   12/12/2024   Bankruptcy: Review docket for             LN     0.40    $425.00   $170.00
                        confirmation draft amended plan A2
                        (need to email client for input); Send
                        email to case admin

 Service   12/12/2024   Bankruptcy: Review and draft              LN     0.70    $425.00   $297.50
                        amendments and advise to client re:
                        issues affecting confirmation; notes
                        and changes for updates to case

 Service   12/12/2024   Bankruptcy: Portal message to client      LN     0.10    $425.00    $42.50
                        to request info and preference on
                        secured claims to be added to plan

 Service   12/13/2024   Bankruptcy: Initial draft objection re:   ED     0.50    $165.00    $82.50
                        Aqua Finance claim, email to attorney

 Service   12/13/2024   Bankruptcy: Review draft of objection     LN     1.10    $425.00   $467.50
                        to proof of claim; review liens and
                        check calculation; research on liens;
                        update objection to claim for filing

 Service   12/23/2024   Bankruptcy: Correspond with Midland       ED     0.20    $165.00    $33.00
                        Mortgage

 Service   01/03/2025   Bankruptcy: Review pre-confirmation       LN     0.30    $425.00   $127.50
                        issues; email trustee

 Service   01/03/2025   Bankruptcy: Review IRS Proof of           AH     0.20    $145.00    $29.00
                        Claim; Email to IRS requesting they
                        file amended proof of claim in regards
                        to 2022 tax liability

 Service   01/10/2025   Bankruptcy: Message to client             AH     0.20    $145.00    $29.00
                        requesting proof of expenses in effort
                        to resolve Trustee's Objection

 Service   01/16/2025   Bankruptcy: Email to IRS attaching        AH     0.10    $145.00    $14.50
                        2022 return- request for amended
                        proof of claim

 Service   01/16/2025   Bankruptcy: Email from trustee re:        LN     0.10    $425.00    $42.50
                        plan status; respond

 Service   01/16/2025   Bankruptcy: Portal message to client      LN     0.10    $425.00    $42.50




                                                    Page 4 of 8
Case 2:24-bk-53688           Doc 36      Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                        Document     Page 11 of 14       Invoice # 3207 - 02/24/2025




                         re: delinquent plan payments;
                         14-days to be current.

 Service   01/23/2025    Bankruptcy: draft and upload order        ED        0.30    $165.00     $49.50
                         granting obj. POC

 Service   01/23/2025    Bankruptcy: Draft Objection to IRS        AH        0.40    $145.00     $58.00
                         proof of claim- email to attorney
                         Nesbitt for review

 Service   01/31/2025    Bankruptcy: Call to clients detailing     AH        0.20    $145.00     $29.00
                         plan delinquency and explaining
                         possible dismissal if proof of payment
                         is not provided

 Service   02/03/2025    Bankruptcy: Email from client re: plan    LN        0.20    $425.00     $85.00
                         payment issues; prepare response.

 Service   02/06/2025    Bankruptcy: Review letter from            ED        0.30    $165.00     $49.50
                         Midland confirming occupancy; faxed
                         back Subject: SRFax Transmission
                         Successful to 1 405-767-5815

 Service   02/13/2025    Bankruptcy: Contact client; Scheduled     AH        0.10    $145.00     $14.50
                         telephone conference with attorney
                         Nesbitt regarding dismissal of
                         Chapter 13

 Service   02/18/2025    Bankruptcy: Scheduled telephone           AH        0.10    $145.00     $14.50
                         conference with attorney Nesbitt to
                         discuss impending dismissal and
                         options

 Service   02/19/2025    Bankruptcy: Review dismissal; email       LN        0.10    $425.00     $42.50
                         paralegals to review time entries for
                         fee application

 Service   02/21/2025    Review time entries and update for        LN        0.60    $425.00    $255.00
                         fee application

 Non-billable services

 Service   12/16/2024    Bankruptcy: File objection to proof of    ED        0.30    $165.00     $49.50
                         claim; email attorney; updated tasks

 Service   12/17/2024    Bankruptcy: Prepare service for           ED        0.20    $165.00     $33.00
                         objection to proof of cliam

 Service   02/14/2025    Bankruptcy: Call to client to discuss     LN        0.10    $425.00     $42.50
                         case status - leave voicemail

                                                                        Quantity Subtotal           16.3

                                                                        Services Subtotal      $5,108.50



 Expenses




                                                     Page 5 of 8
Case 2:24-bk-53688         Doc 36      Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                      Document     Page 12 of 14       Invoice # 3207 - 02/24/2025




  Type        Date                        Description                     Quantity         Rate        Total

 Expense   10/25/2024   Filing Fee: Amendment to Schedules.                     1.00        $34.00       $34.00

 Expense   10/28/2024   Document Mailing - 24-10-28.D14 - 1ST AM                1.00         $7.90        $7.90
                        PLAN, Order# 2023044

 Expense   10/28/2024   Document Mailing - 24-10-28.D14 - 1ST AM                1.00        $43.50       $43.50
                        PLAN, Order# 2023049

 Expense   12/17/2024   Document Mailing - 24-12-16.D24 - OBJ. POC              1.00         $7.41        $7.41
                        13, Order# 2068429

 Expense   12/17/2024   Document Mailing - 24-12-16.D24 - OBJ. POC              1.00         $1.25        $1.25
                        13, Order# 2068435

                                                                          Expenses Subtotal              $94.06


                                                                                Quantity Total               16.3

                                                                                       Subtotal       $5,202.56

                                                                                           Total      $5,202.56

                                                                        Payment (09/11/2024)           -$415.00

                                                                        Payment (02/26/2025)           -$544.00

                                                                                Balance Owing         $4,243.56




Detailed Statement of Account

 Current Invoice

   Invoice Number          Due On         Amount Due             Payments Received             Balance Due

 3207                    02/24/2025            $5,202.56                        $959.00               $4,243.56

                                                                        Outstanding Balance           $4,243.56

                                                                   Total Amount Outstanding           $4,243.56




 IOLTA Account - Chase

   Date       Type          Description                 Matter       Receipts     Payments           Balance

 09/13/2024          Online payment deposit     00487-Firestone                        $510.00          $510.00

 10/25/2024          Online payment deposit     00487-Firestone                           $34.00        $544.00




                                                Page 6 of 8
Case 2:24-bk-53688         Doc 36     Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                     Document     Page 13 of 14       Invoice # 3207 - 02/24/2025




 02/26/2025          Payment for invoice #3207   00487-Firestone   $544.00                 $0.00

                                           IOLTA Account - Chase Balance     $0.00




Please make all amounts payable to: Tax Workout Group, P.A.




                                                 Page 7 of 8
Case 2:24-bk-53688         Doc 36     Filed 02/27/25 Entered 02/27/25 12:06:27 Desc Main
                                     Document     Page 14 of 14       Invoice # 3207 - 02/24/2025



150 East Palmetto Park Road, Suite 800
Boca Raton, Florida 33432                                                         INVOICE
Phone: (561) 571-2004
Fax: (866) 511-2384                                                                  Invoice # 3207
www.TaxWorkoutGroup.com                                                            Date: 02/24/2025
                                                                                  Due Upon Receipt




Pay your invoice online
To pay your invoice, open the camera on your mobile device
and place the QR code in the camera’s view.

Or, click here if you’re viewing on a computer or smartphone.




                                              Page 8 of 8
